

People v Ocasio (2019 NY Slip Op 04626)





People v Ocasio


2019 NY Slip Op 04626


Decided on June 7, 2019


Appellate Division, Fourth Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided on June 7, 2019

PRESENT: CENTRA, J.P., LINDLEY, NEMOYER, AND CURRAN, JJ. (Filed June 7, 2019.) 


MOTION NO. (221/11) KA 09-01583.

[*1]THE PEOPLE OF THE STATE OF NEW YORK, RESPONDENT, 
vORLANDO O. OCASIO, DEFENDANT-APPELLANT.



MEMORANDUM AND ORDER
Motion for writ of error coram nobis denied.








